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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________

BUILDING TRADES UNITED PENSION TRUST FUND,
and SCOTT REDMAN (in his capacity as Trustee),

WISCONSIN LABORERS PENSION FUND,
WISCONSIN LABORERS HEALTH FUND,
WISCONSIN LABORERS APPRENTICESHIP
AND TRAINING FUND, BUILDING & PUBLIC
WORKS LABORERS VACATION FUND, and
JOHN J. SCHMITT (in his capacity as Trustee),

WISCONSIN LABORERS DISTRICT COUNCIL,

WISCONSIN LABORERS-EMPLOYERS
COOPERATION AND EDUCATION TRUST FUND,

                            Plaintiffs,

       v.                                                    Case No. 19-CV-877

MCDONAGH DEMOLITION, INC.

                      Defendant.
______________________________________________________________________

                              COMPLAINT
______________________________________________________________________

       NOW COME the Plaintiffs, by their attorneys, The Previant Law Firm, S.C., by

Philip E. Thompson, and as and for a cause of action against the Defendant, allege and

show to the court the following:

                                   Jurisdiction and Venue

       1.     Jurisdiction of this Court upon McDonagh Demolition, Inc. (“McDonagh”) is

founded upon section 502 of the Employee Retirement Income Security Act of 1974

(“ERISA”) (29 U.S.C. § 1132), and section 301(a) of the Labor Management Relations

Act of 1947 (hereinafter “LMRA”), as amended (29 U.S.C. § 185(a)), in that the Plaintiffs
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are aggrieved by said Defendant’s violation of certain collective bargaining agreements,

trust plans and trust agreements, and said Defendant’s continued refusal to submit

contributions in accordance with the terms of those plans and agreements, thereby

violating the provisions of ERISA, the Multi-Employer Pension Plan Amendments Act

(“MPPAA”), and the terms and provisions of the employee benefit plans, section 301 of

the LMRA and the common law of the State of Wisconsin.

      2.      Venue lies in this Court under ERISA § 502(e)(2) (29 U.S.C. § 1132(e)(2))

in that the Plaintiff Wisconsin Laborers Funds are administered within this district with

offices located in Dane County, Wisconsin.

                                        Parties

      3.      Plaintiff Building Trades United Pension Trust Fund is an employee benefit

plan within the meaning of ERISA Sections 3(1), (2), (3) and (37), 502 and 515, as

amended by the MPPAA (codified as amended at 29 U.S.C. §§ 1002(1), (2), (3) and

(37), 1132 and 1145), and brings this action on behalf of the Trustees, participants, and

beneficiaries of said Plan. Said Plan maintains offices at 500 Elm Grove Road, Elm

Grove, Wisconsin 53122.

      4.      Plaintiff Scott J. Redman is a trustee and fiduciary of the Building Trades

United Pension Trust Fund and as such has standing to be a plaintiff in this action. Mr.

Redman maintains an office at 11175 West Parkland Avenue, Milwaukee, Wisconsin

53224.

      5.      Plaintiffs Wisconsin Laborers Pension Fund, Wisconsin Laborers Health

Fund, Wisconsin Laborers Apprenticeship and Training Fund, and Building & Public

Works Laborers Vacation Fund (collectively with the Building Trades United Pension

Trust Fund, the “Funds”) are employee benefit plans within the meaning of ERISA

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§§3(1), (2), (3) and (37), 502 and 515, as amended by the MPPAA (codified as

amended at 29 U.S.C. §§1002(1), (2), (3) and (37), 1132 and 1145), and bring this

action on behalf of the Trustees, participants, and beneficiaries of said Plans. Said

Plans maintain offices at 4633 LIUNA Way, Suite 201, DeForest, Wisconsin 53532.

      6.     Plaintiff John J. Schmitt is a trustee and fiduciary of the Wisconsin

Laborers’ Health Fund and as such has standing to be a plaintiff in this action. Mr.

Schmitt maintains an office at 4633 LIUNA Way, Suite 101, DeForest, Wisconsin 53532.

      7.     Plaintiff Wisconsin Laborers District Council (hereinafter “Laborers Union”)

is a labor organization (“Union”) within the meaning of 29 U.S.C. § 158, et seq., and

brings this action on behalf of the participants and members of the organization for

whom it collects working dues. Said labor organization maintains offices at 4633 LIUNA

Way, Suite 101, DeForest, Wisconsin 53532.

      8.     Plaintiff Wisconsin Laborers-Employers Cooperation and Education Trust

Fund (“LECET Fund”) is an employee benefit plan governed by a Board of Trustees

consisting of union and labor employee appointees as provided by LMRA § 302(c)(5)

(29 U.S.C. § 186(c)(5)), whose purpose is to address areas of common concern to labor

and management in the construction industry.       Said Plan maintains offices at 4633

LIUNA Way, Suite 201, DeForest, Wisconsin 53532.

      9.     Defendant McDonagh Demolition, Inc. is a domestic corporation

organization engaged in business with principal offices located at 7243 W. Touhy

Avenue, Chicago, Illinois 60631. Its registered agent for service of process is Aaron

Fox, 314 W. Institute Place, 1W, Chicago, Illinois 60610.




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                                          Facts

       10.       McDonagh is an employer and party in interest in an industry affecting

commerce within the meaning of ERISA §§ 3(5), (11), (12) and (14) (29 U.S.C. §§

1002(5), (11), (12) and (14)).

       11.       For all times relevant, McDonagh was and remains a party to and agreed

to abide by the terms of one or more collective bargaining agreements (hereinafter

“Labor Agreements”) between itself and the Wisconsin Laborers District Council

(hereinafter “Union”).

       12.       The Union represents, for purposes of collective bargaining, certain

McDonagh employees and employees of other employers in industries affecting

interstate commerce within the meaning of LMRA §§ 2(5), 9(a) and 301(a) (29 U.S.C. §

151, et seq.).

       13.       The Labor Agreements described herein contain provisions whereby

McDonagh agreed to make timely payments to the Plaintiffs' trust funds for each

employee covered by said Labor Agreements.

       14.       By execution of said Labor Agreements, McDonagh adopted the trust

agreements and amendments thereof which establish and govern the Plaintiffs and are

necessary for their administration and designated as its representatives on the Board of

Trustees such trustees as have been named and appointed pursuant to said trust

agreements, together with their successors selected in the manner provided in such

trust agreements, thereby ratifying all actions already taken or to be taken within the

scope of their authority.

       15.       By virtue of executing the Labor Agreements and adopting and assenting

to all the terms and provisions of the trust agreements and the rules and regulations

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heretofore and hereafter adopted by the trustees of said trust funds, McDonagh has

agreed as follows:

             a.      to file monthly reports and make timely and prompt contributions to

                     the Plaintiffs for each employee covered by the aforementioned

                     Labor Agreements;

             b.      to deduct from each employee who has so authorized, working

                     dues and to timely pay said amounts to the Union;

             c.      to designate, and accept as its representatives, the trustees named

                     in the declaration of trust and their successors;

             d.      to adopt and abide by all of the rules and regulations adopted by

                     the trustees of the employee benefit plans pursuant to the trust

                     agreements;

             e.      to adopt and abide by all of the actions of the trustees in

                     administering the employee benefit plans in accordance with the

                     trust agreements and the rules so adopted;

             f.      to pay, in addition to all of the contributions which are due and

                     owing, liquidated damages and interest relative to delinquent

                     contributions; and

             g.      to pay, in addition to delinquent contributions, interest, and

                     liquidated damages, actual attorney's fees, audit fees, court costs,

                     and service fees, should legal action be necessary to obtain

                     delinquent contributions, interest, and liquidated damages.




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       16.     McDonagh has failed to perform its obligations pursuant to the terms and

conditions of the Labor Agreements and trust agreements by, although not necessarily

limited to, the following:

               A.     failing to make continuing and prompt payments to the Plaintiffs as

                      required by the Labor Agreements and trust agreements for all of

                      McDonagh’s covered employees; and

               B.     failing to accurately report employee work status to the Plaintiffs.

       17.     ERISA § 502(g) (2), as amended by the MPPAA, provides:

               (2)    In any action under this title by a fiduciary for or on behalf of a plan
               to enforce section 515 in which a judgment in favor of the plan is awarded,
               the court shall award the plan --

                      (A)    the unpaid contributions,

                      (B)    interest on the unpaid contributions,

                      (C)    an amount equal to the greater of --

                             (i)    interest on the unpaid contributions, or

                             (ii)   liquidated damages provided for under the plan in an
                                    amount not in excess of 20 percent (or such higher
                                    percentage as may be permitted under Federal or
                                    State law) of the amount determined by the court
                                    under subparagraph (A),

                      (D)    reasonable attorney’s fees and costs of this action, to be
                             paid by the defendant, and

                      (E)    such other legal or equitable relief as the court deems
                             appropriate.

For purposes of this paragraph, interest on unpaid contributions shall be determined by
using the rate provided under the plan, or, if none, the rate prescribed under section
6621 of the Internal Revenue Code of 1954.

       18.     ERISA § 515 provides:




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              Every employer who is obligated to make contributions to a
              multiemployer plan under the terms of the plan or under the terms
              of a collectively bargained agreement shall, to the extent not
              inconsistent with law, make such contributions in accordance with
              the terms and conditions of such plan or agreement.

       19.    Despite demands that McDonagh perform its statutory and

contractual obligations, the Plaintiffs have ascertained that said Defendant has

failed, neglected, and refused to allow access to the Funds’ auditors to determine

whether Defendant has made its required payments. McDonagh may be

indebted to the Plaintiff Funds for the following period.

Audit Period: October 1, 2018 to the Present:

Building Trades United Pension Trust Fund                                  Unknown
Wisconsin Laborers Health Fund                                             Unknown
Wisconsin Laborers Pension Fund                                            Unknown
Wisconsin Laborers Apprenticeship and Training Fund                        Unknown
Building Trades and Public Works Laborers Vacation Fund                    Unknown
Wisconsin Laborers District Council                                        Unknown
Wisconsin Laborers-Employers Cooperation and Education Trust Fund          Unknown

       20.    Despite demands from the Funds’ auditors, McDonagh has denied

the Funds’ auditors access to books and records needed to compile an audit for

the period October 1, 2018 to the present.

     Claim One - Against Defendant McDonagh Landscape and Design, LLC,
         Violation of ERISA §§ 502 and 515 (29 U.S.C. §§ 1132 and 1145)

       21.    As and for a claim for relief against Defendant McDonagh, the Plaintiffs

reallege each and every allegation contained in paragraphs 1 through 20 above and

incorporate the same as though fully set forth herein word for word.

       22.    Repeated demands have been made by the Plaintiffs upon McDonagh for

access to its books and records for a compliance audit, but Defendant has refused to

make such arrangements as are necessary for such an audit.



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       23.    Because, as the Plaintiffs are informed and believe, McDonagh has not

made timely and prompt contributions on behalf of all covered employees, the corpus of

each of the Plaintiffs’ trust funds is reduced, the Plaintiffs’ income is reduced, and their

ability to pay benefits to qualified participants and beneficiaries is curtailed.

Consequently, ERISA and the Plaintiffs’ employee benefit plans have been violated,

and the Plaintiffs are entitled to all of the remedies provided by ERISA.

       24.    Because McDonagh has failed to make timely and prompt contributions,

some of the Plaintiffs’ beneficiaries and participants could have eligibility terminated and

benefits reduced for which they would otherwise qualify.         These beneficiaries and

participants would be left without an adequate remedy at law and would suffer severe

and irreparable harm if said Defendant is not mandatorily compelled to comply with the

Labor Agreements and enjoined from further breaches.

       WHEREFORE, Plaintiffs demand the following relief:

       1.     Judgment on behalf of the Plaintiffs and against McDonagh:

              A.     For unpaid contributions, interest, and liquidated damages owed to

                     the Fund for the audit period October 1, 2018 through the present;

              B.     For unpaid contributions, interest, and liquidated damages owed to

                     the Fund becoming due and/or arising after the commencement of

                     this lawsuit through the date of judgment; and

              C.     Actual attorney fees and the costs of this action.

       2.     An order requiring McDonagh to serve on the Plaintiffs' counsel, within ten

(10) days of the date of said order, a list of McDonagh’s accounts receivable. With

respect to each account receivable, McDonagh shall itemize:

              A.     The amount of each account receivable.

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               B.      The period of time during which such receivable accrued.

               C.      The location of the premises upon which the work was performed.

               D.      The nature of the improvement involved for which the account

                       receivable is due.

               E.      The present outstanding amount of wages and fringe benefits still

                       owed for labor on the improvement (itemized by individual and by

                       month on each project or improvement separately).

      3.       An order directing McDonagh to fully submit to an audit of the company's

books and records by the Funds’ designated representatives for the period October 1,

2018 to the present.

      4.       The Court should retain jurisdiction pending compliance with its order.

      5.       For such other, further or different relief as the Court deems just and

proper.

      Dated this 25th day of October, 2019.


                                            s/Philip E. Thompson
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